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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

DAVID G. BYKER and                                  )
GLOBAL ASSET MANAGEMENT                             )
HOLDINGS, LLC,                                      )
                                                    )
       Plaintiffs,                                  )
                                                    )
v.                                                  )   Case No.: 2:16-cv-02034-JEO
                                                    )
NANNETTE SMITH,                                     )
                                                    )
       Defendant.                                   )

                     MEMORANDUM OPINION AND ORDER

       In this diversity action, Plaintiffs David Byker (“Byker”) and Global Asset

Management Holdings, LLC (“GAM”) (collectively “Plaintiffs”) bring claims

against Defendant Nannette Smith (“Smith”) based on allegations that she

breached an agreement that settled an underlying lawsuit in the Circuit Court of

Jefferson County, Alabama (the “State-Court Action”). (Doc.1 1). The cause now

comes to be heard on Plaintiffs’ motion to compel and allow the service of

subpoenas on two non-parties. (Doc. 109). Smith opposes the motion in part.




1
 Citations to “Doc. ___” are to the document number of the pleadings, motions, and other
materials in the court file, as compiled and designated on the docket sheet by the clerk of the
court. Unless otherwise noted, pinpoint citations are to the page of the electronically-filed
document in the court’s CM/ECF filing system, which may not correspond to pagination on the
original “hard copy” of the document presented for filing.
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(Doc. 111). Upon consideration, the court2 concludes that Plaintiffs’ motion is due

to be granted.

                                                I.

       This case arises out of a dispute regarding computer source code and

software developed by Smith called “B2K,” which is designed to run payment

systems in gas stations and convenience stores (the “B2K Software”). In the State-

Court Action, Smith represented that her independent software auditor, Yusuf

Musaji, had examined the B2K software and had opined that it met the certification

requirements of version 3.2 of the Data Security Standard promulgated by the

Payment Card Industry Security Standards Council (“PCI”). 3 (See Doc. 50-2). On

November 15, 2016, the parties reached a settlement in the State-Court Action, and

their agreement so doing was read into the court record. (Doc. 1-1). Under the

terms of the settlement, Byker and GAM agreed to pay Smith $500,000, in

installments over time. (Id. at 4-5). In turn, Smith would provide Byker and GAM

with a “functional and operational” version of the “same” B2K Software that

Musaji ostensibly reviewed previously. (Id. at 5-6). In furtherance of that


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  The parties have consented to an exercise of plenary jurisdiction by a magistrate judge pursuant
to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73. (Doc. 27).
3
 According to its website, the “Payment Card Industry Security Standards Council leads a
global, cross-industry effort to increase payment security by providing industry-driven, flexible
and effective data security standards and programs to help businesses detect, mitigate and
prevent cyberattacks and breaches.” https://www.pcisecuritystandards.org/pdfs/PCI SSC
Partnering for_Global_Payment_Security.pdf.

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condition, Smith agreed to send a disc with the B2K Software to Musaji, who was

to “certify” that it was the “same” software he had previously examined and that it

was “functional and operational.” (Id.) Musaji also was to advise “of whatever

programs or other information is needed to open and access the disc in a way that

doesn’t damage or corrupt it.” (Id. at 6). Musaji was to complete that work within

30 days after the settlement, i.e., by December 15, 2016. (Id.) By that same date,

Byker and GAM were due to make their first installment payment under the

settlement to Smith, in the amount of $100,000. (Id. at 5).

        On December 14, 2016, Musaji spoke with the respective attorneys

representing Smith, Byker, and GAM. (See Doc. 1-2 at 2, Doc. 1-3 at 2). That

same evening, Musaji sent an email in which he summarily confirmed that a zipfile

he had received from Smith contained “the exact same software and source code”

he had previously reviewed and found to comply with the PCI 3.2 standard and

that it was “functional and operational.” (Doc. 1-2 at 2). Musaji also there

recognized that he had been asked to identify “what programs (including

applicable version) and other information is required to open and access the

software and source code without damaging or corrupting the same.” (Id.) In

response, Musaji stated, “There is no corruption of the source code if only viewing

(read-only access). Any text editor software will be suitable for this purpose.”

(Id.)


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      At that point, however, the settlement agreement broke down. On December

15, 2016, counsel for Plaintiffs Byker and GAM sent a check for $100,000 to

Smith’s counsel comprising the first installment payment owed to Smith under the

agreement. (See Docs. 1-3 and 1-4). However, Plaintiffs’ counsel requested that

disbursement of those funds to Smith be withheld due to asserted deficiencies in

Musaji’s review and certification of the software. (Doc. 1-3). In particular,

Plaintiffs’ counsel complained that they had recently learned that Smith had not

provided the software to Musaji until December 12, 2016, only three days before

the parties’ agreed-upon deadline for him to complete his review and certification.

(Id. at 2). Plaintiffs’ counsel further asserted that, during Musaji’s conversation

with them the day before, Musaji had reported that he had not actually begun

reviewing the software and that he would not be able to do so until Friday,

December 16th, or thereafter. (Id.) As such, it did not appear to Plaintiffs’ counsel

that Musaji had actually “performed the in-depth comparison required and

contemplated under [the] settlement agreement,” notwithstanding his email of

December 14th stating that the software was the “same” as he had previously

reviewed and was “functional and operational.” (Id.) Indeed, on that front,

Plaintiffs’ counsel read Musaji’s email responses as indicating that he had been

provided with a “read-only” version of the software. (Id.) That, Plaintiffs’ counsel

suggested, was inconsistent with Musaji’s answers affirming he had received the


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“same” software as previously and that it was “functional and operational.” (Id.)

In reply, Smith’s counsel insisted that Smith had complied with her obligations

under the settlement agreement and that Musaji had certified, both timely and to

the extent required, that he had received the same software and that it was

functional and operational. (Doc. 1-4). Smith’s counsel also refused to keep the

installment funds from Smith based on the objections raised by Plaintiffs’ counsel.

(Id.)

        On December 19, 2016, Plaintiffs 4 filed this action against Smith. (Doc. 1).

Seeking both injunctive relief and damages, Plaintiffs raise claims under four

Alabama state-law theories: (1) breach of contract, (2) promissory estoppel, (3)

fraudulent misrepresentation, and (4) fraudulent suppression. (Id.) The crux of all

of those claims is that Smith has allegedly breached the settlement agreement with

regard to her promised production of the B2K software. (See id.)

        The parties’ instant dispute concerns the scope of discovery. Specifically,

Plaintiffs have moved to compel and allow the service of subpoenas upon two non-

parties: Coalfire Systems, Inc. (“Coalfire”) and Bearden Oil Company (“Bearden

Oil”). (Doc. 109). Coalfire is a company that, like Musaji, audits and validates

payment processing system software and has performed such services for Smith


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 Technically, this action was filed by Byker, GAM, and a third party, Robert A. Przybysz.
(Doc. 1). However, the court has granted a motion by Przybysz, unopposed by Smith, to be
dismissed from the action. (Docs. 72, 80).

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and/or certain business entities she owns. Bearden Oil, by contrast, owns or

operates a fuel sales site that allegedly uses the B2K Software. The subpoena to

Coalfire seeks, among other things, software validation reports and implementation

guides related to Defendant Nannette Smith, her son Josh Smith (“Josh”), and

certain other entities controlled by or otherwise related to Nannette Smith,

identified as: (a) B2K Systems, Inc.; (b) B2K Systems, LLC; (c) Smith and

Company; (d) Fueling Clover, LLC (“Fueling Clover”); and (e) Gas POS, LLC

(“Gas POS”). (Doc. 109-1 at 3-7). The subpoena to Bearden Oil similarly seeks

copies of contracts and other documentation related to those same individuals and

entities. (Id. at 8-12). Plaintiffs contend that the sought documents are relevant, at

least for purposes of discovery. That is so, Plaintiffs say, primarily because, as

further explained below, Smith’s correspondence with Musaji in October 2016

indicated that Smith was going to have Musaji’s firm review and audit the same

software that had previously passed audits by Coalfire under the name of Fueling

Clover, which had recently changed its name to Gas POS.

      At this point, Smith has no objection to the subpoenas to the extent they seek

documents related to B2K Systems, Inc.; B2K Systems, LLC; or Smith and

Company. (Doc. 111 ¶ 3). She also does not object to the subpoenas with regard

to documentation related to her personally, “so long as the discovery is limited to

the B2K software.” (Id.) However, Smith continues to object to the subpoenas


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insofar as they ask for documents beyond that scope, including as they relate to

Fueling Clover, Gas POS, or Josh. (Id.) In short, Smith insists that the B2K

Software is materially different and distinct from any software developed by and

audited for Fueling Clover/Gas POS. As such, Smith argues that the documents

sought by the subpoenas are entirely irrelevant, even for purposes of discovery.

                                        II.

      Parties litigating in federal court may obtain documents from a non-party

through a subpoena issued pursuant to Rule 45, Fed. R. Civ. P. It is well-settled

that the scope of discovery under a subpoena is the same as the scope of discovery

under Rule 26(b), Fed. R. Civ. P., and Rule 34, Fed. R. Civ. P. See Hatcher v.

Precoat Metals, 271 F.R.D. 674, 675 (N.D. Ala. 2010). As such, a court must

examine whether a request contained in a subpoena is overly broad or seeks

irrelevant information under the same standards set forth in Rule 26(b) and as

applied to Rule 34 requests for production. Kwalwasser v. New York Life Ins. Co.,

2007 WL 9723881, at *1 (M.D. Fla. June 14, 2007);

      Rule 26(b)(1) sets out the general scope of discoverable information as

follows:

      Unless otherwise limited by court order, the scope of discovery is as
      follows: Parties may obtain discovery regarding any nonprivileged
      matter that is relevant to any party’s claim or defense and proportional
      to the needs of the case, considering the importance of the issues at
      stake in the action, the amount in controversy, the parties’ relative
      access to relevant information, the parties’ resources, the importance

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      of the discovery in resolving the issues, and whether the burden or
      expense of the proposed discovery outweighs its likely benefit.
      Information within this scope of discovery need not be admissible in
      evidence to be discoverable.

Rule 26(b)(1), Fed. R. Civ. P.

      Plaintiffs’ interest in obtaining documents from Coalfire appears to have

been piqued by the communications between Smith and Musaji in October 2016,

shortly before the State-Court Action went to trial and then settled in mid-

November 2016. First, in an email dated October 10, 2016, Smith indicated to

Musaji that she was looking to hire him to audit the B2K software to assess its

compliance with PCI’s Payment Application Data Security Standard (“PA-DSS”).

(Doc. 109-2). In so doing, Smith stated, “We have already passed two previous

times.” (Id.) The next day, Smith sent another email to Musaji further explaining:

“We are pay at the pump for gas stations. We have Fuel for Clover, LLC and the

software is already audited for that company. The one we need is for Smith and

Co., LLC and it is Beyond 2000 (B2K) software. There are about 14 clients still

using the B2K software.” (Doc. 109-3). In response, Musaji emailed an

engagement letter to Smith on October 25, 2016, acknowledging that the audit

work would be done for “Fueling Clover, LLC.” (Doc. 109-4; Doc. 109-5 at 3).

The following day, Smith replied with an email to Musaji, indicating that the

engagement letter appeared to be in order except that her company’s “legal name”

had changed to “Gas POS, Inc.” (Doc. 109-5 at 3).

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       In order to facilitate Musaji’s audit and review of the software, Smith had an

employee or associate send two documents to Musaji. One a 28-page document

entitled, “PA-DSS 3.2 Implementation Guide for B2K Systems.” (Doc. 109-6

(“Implementation Guide”). That Implementation Guide is copyrighted by Smith

and Company, LLC, and contains numerous references to that firm, with a

copyright date of 2015/20165. (Id.) The second document provided to Musaji for

purposes of his audit is a 32-page “Smith Software, LLC” Software Development

Life Cycle (“SDLC”). (Doc. 109-7). The SDLC identifies Josh Smith as both the

Product Manager and Integration Manager for the software. (Id. at 8).

       Smith emphasizes that the focus of this litigation is simply whether the

software she delivered to Musaji in December 2016 pursuant to the settlement

agreement was (1) “the same” as what she gave him to audit in October/November

2016 before the settlement and (2) “functional and operational.” Smith claims that

what she gave Musaji on both occasions was the B2K Software. She admits,

however, that her company Fueling Clover also developed software that processes

payments at gas stations and the like and that, as of her discussions with Musaji

prior to the settlement, Fueling Clover had changed its name to Gas POS.

However, she insists that the software developed by Fueling Clover/Gas POS (the

“Gas POS Software”) is entirely distinct from the B2K Software. In support,

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 Strangely, the copyright date of the Implementation Guide alternates on each page between
2015 and 2016.

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Smith states that the last version of the B2K Software was released in 2011 or 2012

and was last audited and certified by Coalfire in late 2011. By contrast, Smith

maintains that the Gas POS Software did not even exist in 2012 and that it differs

from the B2K Software in a host of respects, including that only the Gas POS

Software is cloud based and that they use different “target banks” and

communication systems.

      The court is willing to assume for the time being that the B2K Software may

be entirely distinct from the Gas POS software, as Smith maintains. It may also be

that Smith gave Musaji the B2K Software, and not the Gas POS Software, both in

October/November 2016 and in December 2016, again, as both Smith and Musaji

appear to claim. However, for purposes of discovery, Plaintiffs are not required to

take Smith’s or Musaji’s word on those matters. Moreover, the problem for Smith

is largely that, in Smith’s communications with Musaji in October 2016, she

clearly appears to have conflated the programs. In particular, Smith told Musaji

that what she was going to submit to him for audit was the same software that had

already passed audits for her company Fueling Clover (Doc. 109-3), which had

since changed its name to Gas POS. (Doc. 109-5 at 3). It also appears that Josh

had some involvement in the development of that submitted software. As such, the

court agrees with Plaintiffs that Smith’s having done so raises an inference that the

disc and the supporting documentation that Smith provided to Musaji in


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October/November 2016 might have been for the Gas POS software or at least

software materially related to it, developmentally or otherwise, any assertions to

the contrary by Smith and Musaji notwithstanding. That makes information on

Fueling Clover, Gas POS, Josh and that associated software relevant, at least for

purposes of discovery. Accordingly, the court will be granting Plaintiffs’ motion

seeking to allow issuance of the subpoenas to Coalfire and Bearden Oil.

                                         III.

      The court recognizes that the documents sought by Plaintiffs’ subpoenas

may contain highly confidential, proprietary information related to software and

source code. Indeed, according to Smith, information sought relates to a product a

generation beyond the B2K Software owned by B2K Systems, LLC, involved in

the Alabama state-court litigation. Plaintiffs have offered to abide by a protective

order to safeguard Smith’s interests in confidentiality, and the court agrees that

entry of such an order is certainly necessary and proper here. Smith responds that

she cannot trust the efficacy of any protective order that the court might enter.

While not discounting Smith’s concerns, it suffices to say that this court has the

will and the means to punish and otherwise remedy any violation of a duly entered

protective order. As such, the parties are ordered to submit a joint proposed

protective order by June 14, 2019. If the parties cannot agree on terms, they

may each file a proposed order for the court’s consideration.


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SO ORDERED, this 7th day of June, 2019.




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                             JOHN E. OTT
                             Chief United States Magistrate Judge




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